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                            LIMITED LIABILITY COMPANY OPERATING AGREEMENT
                                                             OF
                                               AC I MZ TOMS RIVER LLC


                           This LIMITED LIABILITY COMPANY OPERATING AGREEMENT (this
             "Agreement") of AC I MZ TOMS RIVER LLC (the "Company") is entered into by and among
             BENJAMIN RINGEL, an individual having an address c/o Armstrong Capital, LLC, 70 E.
             Sunrise Highway, Suite 410, Valley Stream, New York 11581; AC RETAIL EQUITY FUND I
             LLC, having an address do Armstrong Capital, LLC, 70 B. Sunrise Highway, Suite 410, Valley
             Stream, New York 11581 ("AC Retail"), TIBOR KLEIN, an individual having an address at
            1644 East 28 Street, Brooklyn, New York 11210, CHANA RINGEL, an individual having an
            address at 100 West 89 Street, Apt. 71, New York, New York 10024 and MICHAEL KRULL, an
            individual having an address at 5 Hastings Road, Monsey, New York 10952 (each of the
            foregoing, with the exception of Benjamin Ringel who shall initially serve as a non-member
            Manager in accordance with Section 5.1 below, and any transferee or additional member who
            has been admitted to the Company in accordance with Article 11 below is herein individually
            called a "Member" and collectively called the "Members"),

                          WHEREAS, the Company was formed pursuant to the Delaware Limited
            Liability Company Act, 6 Del. C. 18-101 et seq. (as same may be amended from time to time,
            the "Act") by the filing of certificate of formation with the Secretary of State of the State of
            Delaware on July 16, 2004,

                            NOW, THEREFORE, the parties agree as follows:

                                                   ARTICLE I
                                             FORMATION OF COMPANY

                            1.1    Name. The name of the Company is "AC I MZ TOMS RIVER LLC."

                           1.2   Purposes. The purposes of the Company are to (a) acquire, own, operate,
          develop, redevelop, lease, finance, sell and exchange direct or indirect interests in the land
          described on Exhibit A attached hereto, and all buildings, other improvements and all
          appurtenances thereto, and all additions or exchanges thereto (the foregoing as in existence from
          time to time, is herein collectively called the "Real Estate"), (b) engage in any and all activities
          necessary, desirable or incidental thereto and (e) engage in any other lawful business for which
          limited liability companies may be organized under the Act.

                          1,3    Term. The term of the Company commenced on July 16, 2004 and shall
          continue until dissolved pursuant to the laws of the State of Delaware.

                           1.4     Fiscal Year. The fiscal year of the Company shall be the calendar year,

                      1.5     Principal Place of Business. The principal place of business of the
         Company shall be at such place as the Manager shall designate from time to time.



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                                                         ARTICLE II
                                                        MEMBERSHIP

                              2.1     Capital Contributions and Loans by Members. No Member shall be
               required to lend any funds to the Company or make any Capital Contributions other than as
               provided in Article EI.

                             2.2    Meetings of the Members and Managers, The Members shall meet only
              upon the call of the Manager or more than 50% of the Members, It shall not be necessary for a
              Member or Manager to meet in order to take any action authorized herein, Whenever the vote or
              the consent of a Member or Manager is required under this Agreement or the Act, each such
              party may vote by written communication or by proxy and may consent in writing without prior
              notice and without a meeting.

                              2,3     Liability of Members. Except as otherwise required, by applicable law
              and as expressly set forth in this Agreement, no Member shall have any personal liability
              whatsoever in its capacity as a Member, whether to the Company, to any of the other Members,
              to the creditors of the Company or to any other third party, for the debts, liabilities, commitments
              or any other obligations of the Company or for any losses of the Company.

                            2.4    Lack of Authority. Except as expressly set forth in this Ageement, no
             Member has the authority or power to represent, act for, sign for or bind the Company, to do any
             act that would be binding on the Company or to make any expenditures or incur any obligations
             on behalf of the Company,

                               2,5    Transfers,

                                      2.5,1 Except as set forth herein, no Member shall sell, assign, transfer,
             pledge, hypothecate, grant a security interest in, encumber or in any way dispose of all or any
             part of its interest in the Company, including without limitation, the Company's capital, profits
             or losses (collectively, a "Membership Interest") without the prior written consent of the
             Manager, which consent may be withheld in the Manager's sole and absolute discretion,
             Transfers of direct or indirect interests in a Member shall be deemed a transfer by such Member
            of a Membership Interest in the Company for purposes of this Section 2.5. Any attempt to make
            a sale, assignment, transfer, pledge; hypothecation, mortgage, encumbrance or other disposition
            of a Membership Interest, or any part thereof, by a Member without the consent of the Manager
            shall be void and shall not bind or be recognized by the Company, and in such event, in addition
            to all other rights and remedies the Manager and any Member may have in law, in equity or
            under the provisions of this Agreement, the Manager or any Member shall be entitled to a decree
            or order restraining and enjoining such attempted sale, assignment, transfer, pledge,
            hypothecation, mortgage, encumbrance or other disposition, and the offending Member shall not
            plead in defense thereto that there would be an adequate remedy at law, it being recognized and
            agreed that the injury and damage resulting from such a breach would be impossible to measure
           monetarily. So long as the person serving as the Manager is Benjamin Ringel, AC Retail may
           not transfer all or any portion of its Membership Interest in the Company without the consent of
           Tibor Klein; provided, however, if (a) following the transfer day to day management of the
           transferee will be controlled by Benjamin Ringel or (b) immediately before the transfer Tibor



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              Klein is not a Member or he is in default of this Agreement, Tibor Klein's consent shall not be
              required for such transfer,

                                       2,5.2 Notwithstanding the provisions of Section 2.5.1 above, the
               Manager may not unreasonably withhold, condition or delay its consent to the assignment, or a
              transfer by operation of law, of a right to receive direct or indirect distributions and allocation of
              profit and loss under Article IV of this Agreement (a) to an immediate family member (i,e,
              spouse, children, siblings, parents and nieces and nephews) of a beneficial owner of a Member or
              trusts or other entities for the benefit of such person's immediate family and (b) to any person
              resulting from the death of a Member or a beneficial owner of a Member. In either of such
             events, by virtue of an assignment or transfer by or from a Member the transferee shall not
             become a Member of the Company without the consent of the Manager, which may be granted
             or withheld in the Manager's sole and absolute discretion, In the event of any such assignment
             or transfer or in the event of any other transfer of all or any part of a Member's Membership
             Interest, in each such case, the transferor (and any Member controlled by such transferor) shall
             cease to be a Member and shall lose the power to exercise any rights or powers of a Member,

                          2,6   Withdrawal of Members. Members may not withdraw from the
            Company prior to the dissolution and winding up of the Company without the prior written
            consent of the Manager, which may be granted or denied in the Manager's sole and absolute
            discretion,

                            2.7     New Members. No new Member may be admitted to the Company
             without the prior written consent of the Manager and Tibor Klein, which may be granted or
            denied in each of their sole and absolute discretion; provided, however, Tibor Klein's consent
            shall not be required if he is not then a Member or is default of this Agreement. Upon admitting
            a new Member, the new Member's Percentage Interest shall equal the percentage the new
            Member's Capital Contribution bears to the fair market value of the Company as increased by
            the new Member's Capital Contribution, Each Member's Percentage Interests shall decrease by
            the product of (a) such Member's Percentage Interest, immediately prior to the Capital
            Contribution of the new Member, expressed as a fraction and (b) the new Member's Percentage
           Interest. The determination of the fair market value of the Company and the calculation of and
           adjustments to the Percentage Interests shall be determined in the Manager's sole and absolute
           discretion. The Manager is authorized to amend or restate this Agreement, on behalf of the
           Members, to reflect the admission of the new Member and the adjustment to the Percentage
           Interests,

                           2.8     Prohibited Transfer and Admission. In no event shall the Manager
           consent to any transfer of an interest or the admission of a new Member in the event that
           (a) either the offering, the transfer or the admission would violate any federal or state securities
           law or regulation, (b) the transfer or admission would cause a termination of the Company
          pursuant to Section 708(b)(1)(B) of the Internal Revenue Code of 1986, as amended from time to
          time (the "Code"), (c) the offering, the transfer or the admission would cause the Company to be
          a "publicly traded partnership" within the meaning of Section 7704(b) of the Code or (d) the
          transfer is to a minor or an incompetent.




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                            2.9      Record Owner. The Company and the Manager shall be entitled to treat
             the record owner of any Company interest as the absolute owner thereof in all respects, and shall
             incur no liability for distributions of cash or other property made in good faith to such owner
             until such time as a written instrument conveying such interest has been received and accepted
             by the Manager and recorded on the books of the Company. The Manager may refuse to accept
             an assignment until the end of the calendar year following the assignment.

                             2.10 No Restrictions, Any Member, regardless of whether such Member or
            Manager is acting as a manager of the Company, and any affiliate or any director, officer,
            employee, partner or other person or entity related to any Member may engage in or possess a
            business interest in other business ventures of every nature and description, independently or
            with others, including but not limited to, the ownership, operation, or investment in any real
            estate or real estate development wherever located. Neither the Company nor any Member or
            any affiliate or entity related to any of them shall have any rights by virtue of this Agreement in
            and to such independent ventures or to the income or profits derived therefrom.

                            2.11 Reimbursement for Company Expenses, The Company shall bear all
            expenditures incident to its formation. Each Member shall be entitled to reimbursement by the
            Company for all out-of-pocket expenses reasonably paid or incurred by it in connection with the
            discharge of its duties and obligations under this Agreement.

                           2,12 Investment Representations. Each of the Members represents and
            warrants to the other Members and to the Company that:

                                  (a)     Such Member is acquiring an interest in the Company for its own
           account, for investment only and not as nominee or agent, and not with a view to the resale or
           distribution of any part thereof;

                                  (b)    Such Member understands that he must bear the economic risk of
           its investment in the Company for an indefinite period of time because the interests in the
           Company are not registered under the Securities Act of 1933, as amended, or under any state
           securities laws, and such investment may not be resold unless subsequently registered or unless
           an exemption from registration is available, and it does not have the right to require such
           registration; and

                                 (c)    The Member is either (i) an individual whose net worth, or joint
          net worth with his spouse at the time of his purchase, exceeds $1,000,000; (ii) an individual who
          had an income in excess of $200,000 in each of the two most recent years or joint income with
          his spouse in excess of $300,000 in each of those years and who reasonably expects an income in
          excess of the same income level in the current year; (iii) an organization described in Section
         501(c)(3) of the Code, corporation, Massachusetts or similar business trust or partnership, not
         formed for the specific purpose of acquiring the securities offered, with total assets in excess of
         $5,000,000; (iv) a trust with total assets in excess of $5,000,000, not formed for the specific
         purpose of acquiring the securities offered, whose purchase is directed by a person having such
         knowledge and experience in financial and business matters that he is capable of evaluating the
         merits and risks of the prospective investment; or (v) an entity in which all of the equity owners
         are persons who fall into categories (i), (ii), (iii) or (iv) above.



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                                                      ARTICLE III
                                                  CAPITAL ACCOUNTS

                              3.1    Capital Contributions and Percentage Interests, The term "Capital
              Contributions", as used in this Agreement, shall mean the aggregate amounts of money or the
              fair market value of property contributed to the Company, Each Member shall be required to
              contribute to the Company, within one (1) Business Day of the Manager's request (which may be
              given in person, telephonically, by email or in writing), cash in proportion to their relative
              Percentage Interests (as defined below) in the amounts (a) necessary to close the acquisition of
              the Real Estate and (b) appropriate, as reasonably determined by the Manager, for the
              Company's initial working capital and reserves. Each Member's percentage interest in the
              Company shall initially be as shown on Schedule I attached hereto, subject to adjustment
             pursuant to the terms of this Agreement (each such percentage, as same may be adjusted from
             time to time, is herein individually called a "Percentage Interest" and collectively called the
             "Percentage Interests"). Any Capital Call (as defined in Section 3.2.1 below) or series of
             Capital Calls by the Manager aggregating in excess of $3 million to fund a single capital
             improvement to the Real Estate, shall be subject to the prior consent of Tibor Klein; provided,
             however, if Tibor Klein is not then a Member or is then in default of the Agreement his consent
             shall not be required.

                               3.2   Additional Capital Contributions,

                                     3.2.1 The Manager, in good faith, may from time to time determine that
             it is desirable for the Company to have additional Capital Contributions in furtherance of the
             purposes of the Company (any such contributions are hereinafter referred to as "Additional
             Capital Contributions"), In such event, the Manager shall send a notice to the Members stating
             the amount of the desired Additional Capital Contribution (the "Capital Call"). If a Capital Call
             is made in accordance with the foregoing, each Member shall within ten (10) days after the date
            of the Call Notice (the "Call Period") contribute, or elect not to contribute, to the Company in
            cash, its ratable share ("Ratable Share") of the Capital Can. Failure to timely contribute its
            Ratable Share of the Capital Call shall be deemed an election by such Member not to contribute
            its Ratable Share of the Capital Call. Each Member's Ratable Share of a Capital Call shall be the
            amount determined by multiplying such Member's Percentage Interest in the Company at the
            time of the Call Notice, by the aggregate amount of the Capital Call.

                                   3.2.2 If a Member elects, or is deemed to have elected, not to contribute
           an amount (the "Default Amount") equal to its Ratable Share of the Capital Call (the "Failing
          Member"), and some or all of the other Members (each "Non-Failing Member") have made their
           respective entire required contributions and all or some of such Non-Failing Members have made
          additional Capital Contributions to cover the entire Default Amounts (the Non-Failing Members
          wishing to make such additional Capital Contributions may contribute in proportion to their
          respective Percentage Interests), then each Failing Member's Percentage Interest immediately
          following the making of the Non-Failing Members' contributions shall be reduced (but not
          below zero) by a fraction, the numerator of which is an amount equal to their respective Default
          Amount and the denominator of which is the sum of all Capital Contributions theretofore
          contributed by all Members and the Percentage Interests of each of the Non-Failing Members
          who made additional Capital Contributions on account of the Default Amounts shall be increased


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               by the percentage points by which the Failing Member's Percentage Interest were decreased
              pursuant to this Section 3.2,2 multiplied by a fraction, the numerator of which is the amount of
              such Member's Capital Contribution on account of the Default Amounts, and the denominator of
              which is the sum of all Default Amounts. If some or all of the Non-Failing Members have not in
              the aggregate contributed the Default Amounts, then each Non-Failing Member may elect to
              withdraw from the Company its Capital Contribution made in satisfaction of the Capital Call and
              any portion of the Default Amount.

                            3.3    Capital Accounts. A capital account ("Capital Account") shall be
             established for each Member and shall be maintained in accordance with Treasury Regulation
             Section 1.704-1(b)(2)(iv).

                           3.4    Negative Capital Accounts, No Member shall be required to pay to the             1
             Company or to any other Member any deficit or negative balance which may exist from time to
             time in such Member's Capital Account.

                          3.5    Company Capital. No. Member shall be paid interest on any Capital
            Contribution or on such Member's Capital Account, and no Member shall have any right (a) to
            demand the return of such Member's Capital Contribution or any other distribution from the
            Company (whether upon resignation, withdrawal or otherwise), except upon dissolution of the
            Company or (b) to cause a partition of the Company's assets.

                                                 ARTICLE IV
                                         DISTRIBUTIONS; ALLOCATIONS
                                            OF PROFITS AND LOSSES

                           4.1    Distributions. Distributions of cash flow and capital proceeds of the
            Company shall be made at such times and in such amounts as determined in Manager's sole but
            reasonable business judgment. Subject to the retention and establishment of reserves and
            payment to third parties of such funds as the Manager deems necessary for the Company's
            business needs, the Manager shall cause the Company to make quarterly distributions

                                  4.1.1 Order of Distributions,        To the extent available, distributions
           shall be made in the following order of priority:

                                  (a)    First, distributions shall be distributed to the Members, pro rata, in
           proportion to their respective Percentage Interests, until such time as the Members (excluding
           any new Members and any Member whose Percentage Interest has been reduced for failing to
           contribute its Ratable Share of a Capital Call) receive an eleven (11%) percent Internal Rate of
           Return (as defined in Section 4.1.3 below) with respect to their respective Capital Contributions
           to the Company.

                                  (b)     Then, (1) 80% of each distribution shall be distributed to the
          Members, pro rata, in proportion to their respective Percentage Interests, and (ii) 20% of each
          distribution shall be distributed to AC Retail until such time as the Members (excluding any now
          Members and any Member whose Percentage Interest has been reduced for failing to contribute
          its Ratable Share of a Capital Call) receive a fifteen (15%) percent Internal Rate of Return with
          respect to their respective Capital Contributions to the Company.


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                                        (c)     Then, (1) 70% of each distribution shall be distributed to the
               Members, pro rata, in proportion to their respective Percentage Interests, and (ii) 30% of each
               distribution shall be distributed to AC Retail until such time as the Members (excluding any new
               Members and any Member whose Percentage Interest has been reduced for failing to contribute
               its Ratable Share of a Capital Call) receive a twenty (20%) percent Internal Rate of Return with
               respect to their respective Capital Contributions to the Company.
                                       (d)       Thereafter, (i) 75% of each distribution shall be distributed to the
               Members, pro rata, in proportion to their respective Percentage Interests, and (ii) 25% of each
               distribution shall be distributed to AC Retail.

              Distributions made to AC Retail under Sections 4.1.1(b)(ii), 4.1, I (c)(ii), and 4,1.1(d)(ii) are
              referred to herein as the "Carried Interest Distributions"

                                     4.1.2 For purposes of calculating the Internal Rate of Return, Carried
              Interest Distributions made to AC Retail shall be excluded from the calculation.
                                     4,1.3 "Internal Rate of Return" shall mean that interest rate which, when
              used as a discount rate, causes (a) the net present value of the cumulative distributions made to a
              Member by the Company from the respective dates of the Member's Capital Contributions
              through the computation date, to equal (b) the net present value of the Member's Capital
              Contributions from the date such Capital Contributions are contributed to the Company. For
             purposes of this definition, net present value shall be determined using annual compounding
             periods and any such contributions by the Member during a year shall be deemed to occur on the
             date made, The Internal Rate of Return shall be calculated using a methodology and formula
             selected by the Manager in the Manager's sole but reasonable discretion,

                           4.2   Allocation of Profits and Losses. Except as otherwise required under the
             Internal Revenue Code of 1986, as amended (the "Code") and applicable Treasury Regulations:

                                  4.2.1 Profits shall be allocated among the Members for each fiscal year
            or other accounting period as follows:

                                           (a)    First, up to the amount by which Losses allocated to the
            Members for prior accounting periods pursuant to Sections 4.2,2 exceed Profits previously
            allocated to the Members pursuant to this Section 4.2.1 for all prior accounting periods, to the
            Members, pro rata, in the same proportion and reverse order that such excess amounts were
            previously allocated such that the Profits so allocated completely offset such Losses starting with
            the Losses from the most recent accounting period;

                                         (b)     Then, AC Retail until the cumulative Profits and items of
           income and gain allocated to AC Retail exceed the cumulative Losses and items of loss and
           deduction allocated to AC Retail by an amount equal to the cumulative Carried Interest
           Distributions to AC Retail, with the balance to the Members, pro rata, in proportion to their
           respective Percentage Interests.

                                 4.2.2    Losses shall be allocated among the Members for each fiscal
          year or other accounting period as follows:


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                                            (a)    First, up to the amount by which Profits allocated to the
             Members for prior accounting periods pursuant to Section 4,2.1 exceed Losses previously
             allocated to the Members pursuant to this Section 4,2.2 for all prior accounting periods, to the
             Members, pro rata, in the same proportion and reverse order that such excess amounts were
             previously allocated such that the Losses so allocated completely offset such Profits starting with
             the Profits from the most recent accounting period; and
                                           (b)     The balance, if any, to the Members, pro rata, in proportion
            to their respective Percentage Interests.

                                      4.2,3 It is contemplated by the parties that Profits and Losses (including
            items of income, gain, loss, deduction with respect thereto) for any fiscal year which is
            attributable to either: (a) a sale of Company assets or (b) a deemed disposition of Company
           assets upon their distribution in kind in connection with a liquidation of the Company, and if
           necessary, other items of Company income, gain, loss and deduction for such fiscal year and
           other fiscal years of the Company, as applicable, shall be allocated among the Members in such
           proportions as shall cause the Capital Accounts of each Member, as nearly as practicable, to
           equal the amount that would be distributable to such Member if the Company sold all of its
           remaining assets at their then Book Value, and distributions in liquidation of the Company (after
           satisfying its liabilities) were made in accordance with Section 4.1 hereof.

                                 4.2.4     Notwithstanding the foregoing, the Capital Accounts and
           allocations of income, gain, loss, deductions and credits for income tax purposes shall all be
           made strictly in accordance with Section 704(b) and 704(c) of the Code and the Treasury
           Regulations thereunder, including the "qualified income offset" of Treasury Regulation §1.704-
           1(b)(2)(ii)(d) and the rules concerning allocations attributable to nonrecourse liabilities of
           Treasury Regulation §1.704-2,

                                   4.2.5    Certain Definitions,

                                 (a)    "Profits" for any period shall mean the excess, if any, of all items
          of income and gain of the Company over all items of loss, deduction and expense of the
          Company for such period, determined in accordance with, and subject to any adjustments
          required under, applicable Treasury Regulations.

                                 (b)    "Losses" for any period shall mean the excess, if any, of all items
          of loss, deduction and expanse of the Company over all items of income and gain of the
          Company for such period, determined in accordance with, and subject to any adjustments
          required under, applicable Treasury Regulations,

                                (c)    "Book Value" shall mean, with respect to any Company asset, the
         Company's adjusted basis for Federal income tax purposes, adjusted from time to time to reflect
         the adjustments required or permitted by Treasury Regulations Section 1.704-1(b)(2)(iv)(d)-(g)
         and/or the other applicable Treasury Regulations,




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                                                      ARTICLE V
                                                     MANAGEMENT

                             5,1    Management.

                                       5.1.1 Authority of the Manager. The business and affairs of the
              Company shall be managed solely by the manager (the "Manager") who shall have the sole and
              exclusive right and power to make all decisions and take all action with respect to the
              management of the business and affairs of the Company. The Manager may appoint a party or
              parties to replace it as Manager or to serve together with it as the Manager, If at any time there
             should be more than one (1) party serving as the Manager, the Manager appointing such party or
             parties shall designate in writing at the time of such appointment whether the parties who will be
             serving as the Manager must act unanimously or may act independently of each other or
             otherwise in carrying out the duties of the Manager. In the event of any dispute between the
             parties acting as the Manager where their unanimous consent is required or where a deadlock has
             occurred, the provisions of Section 5.2 shall apply, Every contract, deed, mortgage, deed of trust,
             pledge, lease, credit agreement or other instrument executed by the Manager shall be conclusive
             evidence in favor of every person or entity relying thereon or claiming thereunder that at the time
            of the delivery thereof that: (a) the Company was in existence, (b) neither this Agreement nor the
            Certificate of Formation of the Company had been amended in any manner except as otherwise
            set forth in any such instrument and (c) the execution and delivery of such instrument was duly
            authorized by the Company. Any person or entity may always rely on a certificate addressed to
            such person or entity and signed by the Manager: (1) as to the existence or non-existence of any
            fact which constitutes a condition precedent to acts by the Manager or in any other manner
           germane to the affairs of the Company, (ii) setting forth the persons and/or entities who are
           authorized to execute and deliver any instrument or document on behalf of the Company, (iii)
           certifying as to the authenticity of any copy of the Certificate of Formation of the Company, this
           Agreement, any amendments thereto and hereto and any other document relating to the conduct
           of the affairs of the Company and (iv) as to any action taken or not taken by the Company or as
           to any other matter whatsoever involving the Company.

                                  5.1.2 Designation of the Manager. Benjamin Ringel shall serve as the
          initial Manager. Unless otherwise agreed to by the Manager in writing, the Manager shall serve
          until resignation, death, determination of mental or physical disability that renders the Manager
          unable to perform the duties of the Manager, or removal in accordance with this Agreement, The
          person or entity acting as a Manager shall designate a successor Manager if such Manager should
          cease to serve as a Manager for any reason, If a Manager fails to designate a successor, and is
          disabled or deceased, the Manager's legal representative shall designate the successor Manager,
          A Manager may only be removed as Manager by the unanimous vote of the Members and all
          parties then serving as Manager (excluding the Manager being voted on and any entity controlled
          by such Manager, which may then be a Member) if such Manager's willful misconduct caused a
          material adverse consequence to the Company and such Manager received notice from a
         Member or other Manager describing in reasonable detail the Manager's willful misconduct and
         the material adverse consequence resulting therefrom and the Manager then failed to correct such
         materially adverse consequence in.the 60-day period after receipt of such notice, If a Manager is
         removed due to such Manager's willful misconduct and there are no remaining parties serving as
         the Manager, the remaining Members (including the removed Manager or an entity controlled


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              by the removed Manager, if such person or entity is a Member of the Company) holding a
              majority of the Percentage Interests in the Company shall appoint a new Manager. All
              transactions between affiliates of the Manager and the Company shall be at market rates, The
              management fee paid for property management of the Real Estate shall not exceed four (4%)
              percent of the gross receipts derived from the Real Estate.

                                     5,1.3 Officers. Without limiting the generality of the foregoing, the
             Manager shall have the authority to appoint officers of the Company as he or she deems
             desirable to effectuate and carry out the business of the Company. Such appointed officers shall
             be responsible for, and have the authority to, carry out the business of the Company to the extent
             authorized by the Manager.

                             5.2   Management Disputes.

                                    5.2.1 Statement of the Dispute. If at any time there is more than one
             person or entity serving as the Manager and the parties serving as the Manager fail to agree on
             any matter relating to the management of the Company which requires unanimous consent (or
             there is any other deadlock), then a Manager may give to the other party or parties serving as the
             Manager a written statement (the "Manager's Statement") setting forth in reasonable detail the
             action such Manager (the "Initiating Manager") is seeking the Company to take and the reasons
            for taking such action. The other party or parties serving as the Manager (the "Other Manager")
            shall have ten (10) Business Days to respond (the "Other Manager's Response") to the
            Manager's Statement, failing which the Initiating Manager may unilaterally cause the Company
            to take all necessary action to carry out the action set forth in the Manager's Statement and all
           matters reasonably related thereto. If the Other Manager timely gives the Other Manager's
           Response to the Initiating Manager and the Initiating Manager and Other Manager, in the thirty
           (30) Business Day period thereafter, fail to resolve the dispute, then the Initiating Manager may
           submit the Manager's Statement and the Other Manager's Response to the Arbitrator (as defined
           in Section 5,2.3 below), with a copy to the Other Manager, and request that the Arbitrator decide
           whether the Initiating Manager's or the Other Manager's position is in the best interest of the
           Members having a majority in interest of the Percentage Interests.

                                   5,2.2 Arbitration. The Arbitrator's ruling shall be in writing and be
           binding on the Initiating Manager, the Other Manager, the Members and the Company. If
           requested by the Arbitrator, the Initiating Manager and the Other Manager will meet with the
           Arbitrator to present and discuss their respective positions and furnish the Arbitrator with such
           information as the Arbitrator reasonably requests in order to rule on the dispute. Prior to and
           during any such discussions, the Initiating Manager and the Other Manager may modify their
          positions by notifying the other party and the Arbitrator of such modification. The Arbitrator, in
          his sole discretion, shall decide what information and discussion, if any, is necessary to rule on
          the dispute. The Arbitrator shall only be authorized to accept either the Initiating Manager's
          position, as set forth in the Manager's Statement, or the Other Manger's position, as set forth in
          the Other Manager's Response, in each case as such positions may have been modified in
         accordance with this Section 5,2,2. If the Arbitrator determines that the Initiating Manager's
         position is in the best interest of the Members, than the Initiating Manager shall be authorized
         unilaterally to take all necessary action, or cause the Company to take such action, to carry out
         the position set forth in the Manager's Statement, as same may have been modified, and all


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              matters reasonably related thereto. If the Arbitrator determines that the Other Manager's
              position is in the best interests of the Members, then the Initiating Manager shall not be
              authorized to take the action's objected to in the Other Manager's Response, as same may have
              been modified,

                                      5.2.3 Arbitrator, The parties serving as the Manager shall designate the
              Arbitrator (the term "Arbitrator" shall mean such individual or his successors appointed in
              accordance with the terms of this Section 5.2.3). By a written instrument signed by each party
             serving as a Manager, the designated Arbitrator may be replaced with another person. If at the
             time of a dispute there is no than designated Arbitrator or the then designated Arbitrator dies,
             becomes disabled or is unwilling or otherwise unable to act as the Arbitrator hereunder, each
             party serving as the Manger shall act in good faith to select a new or replacement Arbitrator, If
             they are unable to agree on a new or replacement Arbitrator within thirty (30) Business Days
             after the parties failed to resolve their dispute pursuant to Section 5,2.1, then within seven (7)
             Business Days thereafter each party serving as a Manager shall select a person who has an
             ownership interest in and management rights over at least two (2) million square feet of retail
            space in the State of New Jersey to work together to designate the new or replacement Arbitrator,
            If either party fails timely to designate such a person, the person timely designated shall have the
            sole right to designate the new or replacement Arbitrator. If the designees do not reach
            agreement within seven (7) Business Days after the date that the last designee has been
            designated, then such designees shall designate another person, having the same minimum
            qualifications as required above for the first the designees, to designate the new or replacement
            Arbitrator. If the designees fail to agree upon the designation of another person to designate the
            Arbitrator, then such person shall be appointed by a justice of the Supreme Court of New York
            State. The decision of the person designated by the designees or by the justice of the Supreme
            Court of New York State, as the case may be, shall be in writing and shall be binding upon the
            Manager, the Company and the Members.

                           5.3    Manager's Time. Each party serving as a Manager shall devote to the
           affairs of the Company so much of its time as such party deems necessary or advisable properly
           to carry on the Company's business. The Manager shall not receive any salary or similar fees in
           connection with its services hereunder.

                          5.4     No Restrictions, Each party serving as a Manager, and any affiliate or
          any director, officer, employee, partner, member or other person or entity related to such party
          may engage in or possess a business interest in other business ventures of every nature and
          description, independently or with others, including but not limited to, the ownership, operation,
          or investment in any real estate or real estate development wherever located. Neither the
          Company nor any Member or any affiliate or entity related to any of them shall have any rights
          by virtue of this Agreement in and to such independent ventures or to the income or profits
          derived therefrom.

                         5.5    Nonliability and Indemnity of Manager. To the full extent permitted by
          law, the Manager is released from liability for damages and other monetary relief on account of
          any act, omissioa, or conduct in the Manager's managerial capacity (other than intentional and
          willful misconduct by the Manager which causes the Company to suffer a substantial loss in
          value) and to the full extent permitted by law shall be indemnified by the Company for any


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              claims arising out of any act, omission, or conduct in the Manager's managerial capacity, No
              amendment or repeal of this section affects any liability or alleged liability or indemnity of the
              Manager for any act, omission or conduct that occurred prior to the amendment or repeal.

                             5.6     Reimbursement for Company Expenses. The Manager shall be entitled
             to reimbursement by the Company for all out-of-pocket expenses reasonably paid or incurred by
             it in connection with the discharge of its duties and obligations under this Agreement.

                                                       ARTICLE VI
                                                         TAXES

                          6.1      Tax Elections. The Manager shall determine all tax elections to be made
             by the Company.

                           6.2     Tax Matters Partner. The Manager shall designate a Member to be the
            "tax matters partner" of the Company under Section 6231(1)(7) of the Code,

                                               ARTICLE VII
                               DISSOLUTION, LIQUIDATION AND TERMINATION

                           7.1     Dissolution. The Company shall be dissolved and its affairs shall be
            wound up in accordance with the provisions of the Act and this Agreement. The Manager shall
            wind up the affairs of the Company. The assets of the Company shall be distributed first to pay
            or establish reserves for all liabilities of the Company, and then in accordance with the
            provisions of Section 4.1 above.

                          7.2    Deficit Capital Accounts. Notwithstanding anything to the contrary
           contained in this Agreement and notwithstanding any custom or rule of law to the contrary, upon
           dissolution of the Company any deficit in the Capital Account of any Member shall not be an
           asset of the Company and such Members shall not be obligated to contribute any amount to the
           Company to bring the balance of such Member's Capital Account to zero.

                                                ARTICLE VIII
                                         BOOK AND RECORDS; REPORTS

                          8.1   Books and Records. The Company shall maintain at a location
          designated by the Manager books of account with respect to the operations of the Company.
          Each Member shall have the right, upon reasonable prior notice, during normal business hours,
          on Business Days, and in a manner that does not disrupt the business of the Company, to
          examine and copy, at such Member's expense, for purposes relating to the evaluation of his
          membership interest, the Company's records set forth above, any financial statements maintained
          by the Company for the three most recent fiscal years, and any other information related to the
          affairs of the Company.

                        8.2     Access to Books and Records. Any Member shall have the right to
          examine, or have his duly authorized representative examine, the records and books of account
          of the Company upon reasonable prior notice, during normal business hours, on Business Days,
          and in a manner that does not disrupt the business of the Company and to copy such books and


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              records, at such Member's expense, for purposes relating to the evaluation of such Member's
              membership interest.

                            8.3    Accounting Basis and Fiscal Year, The Company's books shall be kept
              on the method of accounting selected by the Tax Matters Member.

                             8.4    Reports. The Manager shall provide the Members with quarterly
             financial statements showing the income and expenses of the Company for such period. As soon
             after the end of each fiscal year as practical, the Manager shall cause to be furnished to each
             Member such information as may be needed to enable each Member to file its Federal income
             tax return and any required state income tax return. Any Member may, at any time, and at such
             Member's expense, cause an audit of the Company books to be made by a certified accountant of
             his selection,

                                                    ARTICLE IX
                                           SPECIAL POWER OF ATTORNEY

                            9.1     Grant of Power of Attorney. Each Member, by its execution of this
             Agreement, hereby irrevocably makes, constitutes and appoints the Manager as its true and
             lawful attorney-in-fact, with power and authority in its name, place and stead, to make, execute,
            sign, acknowledge and file on behalf of each of them and on behalf of the Company such
            certificates, amendments, documents, and instruments as are deemed necessary or desirable by
            the Manager, in the sole and absolute discretion of the Manager, to effectuate the actions for
            which the Manager is authorized or to effectuate, implement, continue and defend the valid and
            subsisting existence, rights and property of the Company as a limited liability company and its
            power to carry out its purposes as set forth in this Agreement. The foregoing shall in no way
            empower or authorize the Manager to impose new obligations on a Member which are not
            provided for in the other Articles of this Agreement.

                             9.2    Terms of Grant. The foregoing appointment;

                                    9.2.1 Is irrevocable and shall be deemed to be a special power coupled
           with an interest;

                                  9.2.2 Shall survive the dissolution, termination, disability, death or
           bankruptcy of any Member granting the same and the transfer, by operation of law or otherwise,
           by any such granting Member of the whole or any part of its interest in the Company, its capital,
           profits or losses hereunder; and

                                  9.2.3 May be exercised by the Manager on behalf of each Member by a
           facsimile signature of the Manager or by listing all of the Members executing any instrument
           with a single signature of the Manager, as attorney-in-fact for all of them.

                         9,3     Separate Form. The foregoing appointment is self operative but, in
          confirmation thereof, each Member hereby agrees to execute, acknowledge and deliver to the
          Manager, promptly upon request therefor by the Manager, a power of attorney in recordable
          form satisfactory to the Manager evidencing the foregoing appointment.



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                                                    ARTICLE X
                                                GENERAL PROVISIONS

                            10,1 Offset. Whenever the Company is to pay any sum to any Member, any
              amounts that Member owes to the Company that are then due may be deducted from that sum
              before payment.

                             10,2 Attorneys' Fees. In the event that an action or proceeding should be
             brought by any Member or party serving as a Manager against another Member or party serving
             as a Manager or their respective affiliates for the violation of any term, covenant, condition or
             provision of this Agreement, then the non-prevailing party in such action or other proceeding
             shall be liable to pay to the prevailing party the reasonable fees and disbursements incurred by
             the prevailing party's counsel in such action or other proceeding, as well as any and all court
             costs (through all appeals),

                             10.3 Business Day. The term "Businas Day" shall mean every day that is not
             a Saturday, Sunday, national holiday or Jewish holiday on which the conduct of business is
             prohibited in accordance with the common practice of Orthodox Jews.

                             10.4 Notices. All notices, requests, demands and other communications given
             hereunder shall be in writing and shall be deemed to have been duly given: (a) on the date of
            delivery, if delivered personally or by messenger; or (b) on the first Business Day following the
            date of deposit with Federal Express or other nationally recognized overnight courier service, If
            sent by such courier specifying next day delivery; provided, however, that a change of address
            shall not be deemed to have been given until actually received by the addressee. All such
            notices, requests, demands and other communications shall be directed to the address first set
            forth above or to such other address as either party hereto may designate to the other party hereto
            by like notice.

                            10,5 Entire Agreement, This Agreement constitutes the entire agreement of
           the Members and their respective affiliates relating to the Company with respect to the subject
           matter hereof and supersedes all prior contracts or agreements of the Members and the Manager
           and their affiliates relating to the Company with respect to the subject matter hereof, whether
           oral or written.

                          10.6 Effect of Waiver or Consent. A waiver or consent, express or implied, to
          or of any breach or default by any party in the performance by that party of its obligations with
          respect to the Company is not a consent or waiver to or of any other breach or default in the
          performance by that party of the same or any other obligations of that party with respect to the
          Company. Failure on the part of a party to complain of any act of any party or to declare any
          party in default with respect to the Company, irrespective of how long that failure continues,
          does not constitute a waiver by that party of its rights with respect to that default until the
          applicable statute of limitations period has run.

                         10,7 Amendment. This Agreement may only be amended by written
          agreement signed by the Manager, Members' consent to an amendment of this Agreement shall
          only be required for an amendment which (a) directly modifies the provisions of this Agreement



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               governing contributions from or distributions to the Members , (b) expands the rights of the
               Manager or (c) imposes new obligations on a Member (as opposed to the Company) which are
               not otherwise provided for in this Agreement.

                              10.8 Binding Effect. Subject to the restrictions on transfers of interest set forth
               in this Agreement, this Agreement is binding on and shall inure to the benefit of the Members,
               the Manager and their respective heirs, legal representatives, successors and assigns but shall not
               be deemed for the benefit of any other party.

                              10.9 Further Assurances. In connection with this Agreement and the
              transactions contemplated hereby, each Member shall execute and deliver any additional
              documents and instruments and perform any additional acts that may be necessary or appropriate
              to effectuate and perform the provisions of this Agreement and those transactions.

                              10.10 Counterparts. This Agreement may be executed in multiple counterparts
              with the same effect as if all signing parties had signed the same document. All counterparts
              shall be construed together and constitute the same instrument.

                             10.11 Governing Law; Severability. This Agreement is governed by and shall
             be construed in accordance with the law of the State of Delaware, excluding any conflict-of-laws
             rule or principle that might refer the governance or the construction of this Agreement to the law
             of another jurisdiction. In the event of a direct conflict between the provisions of this Agreement
            and any provision of any mandatory provision of law, the applicable provision of such law shall
            control. If any provision of this Agreement or the application thereof to any party or
            circumstance is held invalid or unenforceable to any extent, the remainder of this Agreement and
            the application of that provision to other parties or circumstances is not affected thereby and that
            provision shall be enforced to the greatest extent permitted by law.

                            10.12 Consent to Jurisdiction. Each Member and Manager irrevocably submits
            to the nonexclusive jurisdiction of the United States District Court for the State of New York and
           the state courts of the State of New York for the purposes of any suit, action or other proceeding
           arising out of this Agreement or any transaction contemplated hereby. Each Member and
           Manager irrevocably and unconditionally waives any objection to the laying of venue of any
           action, suit or proceeding arising out of this Agreement or the transactions contemplated hereby
           in the United States District Court for the State of New York or the state courts of the State of
           New York and hereby irrevocably and unconditionally waives and agrees not to plead or claim in
           any such court that any such action, suit or proceeding brought in such court has been brought in
           an inconvenient forum.

                          10.13 No Broker. Each of the Members and Manager hereto represents and
          warrants to the other that there are no brokerage commissions or finders fees (or any basis
          therefor) resulting from any action taken by such Member or Manager or any party acting or
          purporting to act on such Member's or Manager's behalf upon entering into this Agreement.
          Each Member and Manager agrees to indemnify and hold harmless the other Member and
          Manager for all costs, damages or other expenses (including without limitation reasonable
          attorneys' fees) arising out of a breach of the representation and warranty made in this Section,




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                                                           ARTICLE XI

                                            SPECIAL PURPOSE ENTITY PROVISIONS

                               11.1     Limitations on the Company's Activities,

                                    1 1.1.1 So long as the Indebtedness (as defined in Section 11.1.2(b) below)
             is outstanding, this Section 11.1 shall govern the activities of the Company notwithstanding any
             other provision of this Agreement. If there is a conflict between a provision of this Section 11.1
             and any other provision of this Agreement, the provisions of this Section 11.1 shall govern.

                                   11,1.2 Notwithstanding any other provision of this Agreement and any
             provision of law that otherwise so empowers the Company, so long as any Indebtedness (as
             defined in Section 11.1.2(b)) is outstanding, the Company shall not nor shall the Members cause
             the Company, to take or consent to any of the following actions:

                                    (a)     make any loans to any third party, including the Members or its
            Affiliates (as defined at the end of this Section 11.1.2.);

                                   (b)    except as permitted in writing or under the terms of the loan
            documents (the "Loan Documents") securing and evidencing the mezzanine loan (the
            "Indebtedness") from Principal Commercial Acceptance, LLC or its successors or assigns (the
            "Lender"), sell, encumber (except with respect to the Lender) or otherwise dispose of all or
           substantially all of the properties of the Company (a sale, encumbrance or disposition will be
           deemed to be "all or substantially all of the properties of the Company" if the sale or disposition
           includes the entire Real Estate or if the total value of the properties sold, encumbered or disposed
           of in such transaction and during the twelve months preceding such transaction is 66-2/3% or
           more in value of the Company's total assets as of the end of the most recently completed
           Company fiscal year);

                                      (c)     dissolve, wind-up, or liquidate the Company;

                                      (d)     merge, consolidate or acquire substantially all the assets of another
           person or entity,

                                      (e)     change the nature of the business conducted by the Company; or

                                      (t)     except as permitted by the Lender in writing, amend or modify this
          Section 11.1.

          For purposes of this Agreement, Affiliate means any person or entity which directly or indirectly
          through ono or more intermediaries controls, is controlled by or is under common control with a
          Members. For purposes hereof, the terms "control", "controlled", or "controlling" shall include,
          without limitation, (i) the ownership, control or power to vote ten percent (10%) or more of (x)
          the Members or (y) the Company or beneficial interests of any such person or entity, as the case
          may be, directly or indirectly, or acting through one or more persons or entities, (ii) the control in
          any manner over the Members or the election of more than one director, trustee or manager (or



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                persons exercising similar functions) of such person or entity, or (iii) the power to exercise,
                directly or indirectly, control over the management or policies of such person or entity.

                                      11.1.3 All funds of the Company shall be deposited in such checking
               accounts, savings accounts, time deposits, or certificates of deposit in the Company's name or
               shall be invested in the Company's name, in such manner as shall be designated by the Members
               from time to time. Company funds shall riot be commingled with those of any other person or
               entity. Company funds shall be used by the Members only for the business of the Company.

                                     11.1,4 The Company shall have no indebtedness, secured or unsecured,
              direct or contingent, other than (x) the Indebtedness and (y) trade payables or accrued expenses
              (not exceeding four (4%) percent in the aggregate of the original principal amount of the
              Indebtedness and all such sums shall be promptly paid by the Company but in no event later than
              one hundred eighty (180) days of the date incurred) in the ordinary course of business, and it
              shall not pledge or encumber any of its assets other than in connection with the Indebtedness.

                                     11.1.5 The Company shall not, without the affirmative vote of one
             hundred (100%) percent of the Members, institute proceedings to be adjudicated bankrupt or
             insolvent; or consent to the institution of bankruptcy or insolvency proceedings against it; or file
             a petition seeking, or consent to, reorganization or relief under any applicable federal or state law
             relating to bankruptcy; or consent to the appointment of a receiver, liquidator, assignee, trustee,
             sequestrator (or other similar official) of the Company or a substantial part of its property; or
             make any assignment for the benefit of creditors; or admit in writing its inability to pay its debts
             generally as they become due; or take any action in furtherance of any such action,

                                    11.1.6 The Company shall not terminate solely as a consequence of the
             bankruptcy, insolvency, appointment of a receiver, liquidator, assignee, trustee or sequostrator
             (or other similar official) of a member of the Company or a substantial part of such member's
             property, or assignment for the benefit of its creditors, or an admission in writing of the inability
             to pay its debts generally as they become due, or any similar action, of one or more of the
             members, so long as there remains a solvent manager of the Company,

                                     11.1.7 The Company shall at all times observe the applicable legal
            requirements for the recognition of the Company as a legal entity separate from the Members
            and its Affiliates, including, without limitation, as follows:

                                      (a)   The Company shall use its own separate stationary, invoices and
            checks.

                                 (b)    The Company shall maintain its records and books and accounts
           separate from those of any Affiliate or any other entity. The Company shall prepare unaudited
           quarterly and annual financial statements, and the Company's financial statements shall
           substantially comply with generally accepted accounting principles ("GAAP").

                                  (c)    The Company shall establish and maintain an office through which
           its business will be conducted separate and apart from those of its Affiliates or shall allocate
           fairly and reasonably any overhead and expense for shared office space.



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                                     (d)    The Company shall maintain its own separate bank accounts,
              payroll and correct, complete and separate books of account,

                                      (e)     The Company shall hold itself out to the public (including any
              Affiliate's creditors) under the Company's own name and as a separate and distinct entity and not
              as a department, division or otherwise of any Affiliate,

                                     (f)     All customary formalities regarding the existence of the Company,
             including holding meetings and maintaining current and accurate minute books separate from
             those of any Affiliate, shall be observed.

                                    (g)    The Company shall act solely in its own name and through its own
             duly authorized officers and agents. No Affiliate shall be appointed or act as agent of the
             Company (except for services rendered under a management agreement with an Affiliate so long
             as the manager, or an equivalent thereof, holds itself out as an agent of the Company).

                                  (h)    Investments shall be made in the name of the Company directly by
            the Company or on its behalf by brokers engaged and paid by the Company or its agents.

                                    (I)    The Company shall not guarantee or assume any liabilities or
            obligations for the benefit of any party, including, without limitation, any Affiliate or hold itself
            out or permit itself to be held out as having guaranteed or assumed any liabilities or obligations
            of any party, including, without limitation, any Members or any Affiliate, nor shall it make any
            loan to any party (including any Affiliate).

                                   (j)    The Company is and will be solvent and shall pay its own
           liabilities, indebtedness and obligations of any kind, including all administrative expenses, from
           its own separate assets,

                                 (k)    Assets of the Company shall be separately identified, maintained
           and segregated. The Company's assets shall at all times be held by or on behalf of the Company
          and if held on behalf of the Company by another entity, shall at all times be kept identifiable (in
          accordance with customary usages) as assets owned by the Company. This restriction requires,
          among other things, that Company funds shall not be commingled with those of any Affiliate and
          it shall maintain all accounts in its own name and with its own tax identification number,
          separate from those of any Affiliate.

                             (1)     The Company shall not take any action if, as a result of such
          action, the Company would be required to register as an investment company under the
          Investment Company Act of 1940, as amended.

                              (m) All data and records (including computer records) used by the
          Company or any Affiliate in the collection and administration of any loan shall reflect the
          Company's ownership interest therein.

                                   (n)   None of the Company's funds shall be invested in securities issued
          by any Affiliate,



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                                      (o)      The Company shall not enter into any contract or agreement with
              any employee, shareholder, consultant, agent, director, partner, member or manager of the
              Company or any Affiliate, as applicable, except upon terms and conditions that are intrinsically
              fair and substantially similar to those that would be available on an arms-length basis with third
              parties other than an Affiliate.

                                    (p)     The Company shall file its own tax returns.
                                    (q)    The Company shall not do any act which would make it impossible
             to carry on the ordinary business of the Company,

                                  (r)    The Company shall not hold title to the Company's assets other
             than in the Company's name,

                Any of the foregoing covenants shall not affect the status of the Company as a separate legal
                                       entity or the limited liability of the Members.

                                                 [signatures on next page]




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